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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 0:20-CV-61872-AHS

  ALAN DERSHOWITZ,

        Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  _______________________________/

                      CABLE NEWS NETWORK, INC.’S MEMORANDUM
                             IN SUPPORT OF BILL OF COSTS

         Pursuant to Local Rule 7.3(c) and Federal Rule of Civil Procedure 54(d)(1), Defendant,

  CABLE NEWS NETWORK, INC. (“CNN”), hereby files this Memorandum in Support of its

  contemporaneously filed Bill of Costs and attached supporting documentation. CNN states the

  following in support of its entitlement to recover the costs set forth on its Bill of Costs.

         A.      Background

         On April 4, 2023, this Court entered final judgment in favor of CNN. ECF No. 291. Thus,

  CNN is the “prevailing party” with respect to the litigation instituted by Plaintiff, ALAN

  DERSHOWITZ (“Plaintiff”). As such, CNN is entitled to certain costs under 28 U.S.C. § 1920.

  CNN files this Memorandum supporting its Bill of Costs in compliance with Local Rule 7.3(c)’s

  requirement that it do so.

         B.      CNN Is Entitled to Taxable Costs

         Federal Rule of Civil Procedure 54(d)(1) directs that “costs . . . should be allowed to the

  prevailing party.” Fed. R. Civ. P. 54(d)(1). This rule “creates a presumption in favor of awarding

  costs to a prevailing party.” Matthews v. State Farm Fire & Cas. Co., 500 F. App’x 836, 842 (11th
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  Cir. 2012). To overcome that presumption, “the losing party must demonstrate that there is some

  fault, misconduct, default or action worthy of penalty on the part of the prevailing party.” Snipes

  v. Volusia Cnty., 2016 WL 4203857, at *1 (M.D. Fla. July 7, 2016) (citation omitted), report and

  recommendation adopted, 2016 WL 4162746 (M.D. Fla. Aug. 4, 2016). “[W]hen challenging

  whether costs are properly taxable, the burden lies with the losing party.” S & S Packing, Inc. v.

  Spring Lake Ratite Ranch, Inc., 2016 WL 7733982, at *4 (M.D. Fla. Oct. 28, 2016) (citation

  omitted), report and recommendation adopted, 2017 WL 111593 (M.D. Fla. Jan. 11, 2017). “To

  defeat the presumption and deny full costs, a district court must have and state a sound basis for

  doing so.” Chapman v. AI Transp., 229 F.3d 1012, 1039 (11th Cir. 2000).

         There is no dispute that CNN is the prevailing party in this action on all claims. See ECF

  Nos. 290, 291. Thus, CNN is entitled to recover its costs incurred in defending against this action.

  CNN has filed its Bill of Costs, which includes an itemized summary of the costs it seeks to

  recover, follows the form AO 133 format, and attaches supporting documentation, as required by

  Local Rule 7.3(c). Awardable costs are those enumerated in 28 U.S.C. § 1920, which include, inter

  alia, fees for the clerk of court, service of subpoenas, transcripts, witnesses, and photocopying.

  Specifically, CNN seeks to recover the following costs, which are awardable as confirmed in the

  case law cited below:

             •   Pro hac vice filing fees. See Hamilton v. Sikorsky Aircraft Corp., 2019 WL

                 8641131, at *1 (S.D. Fla. Mar. 21, 2019); Mardegan v. Mylan, Inc., 2012 WL

                 12850765, at *2 (S.D. Fla. Apr. 20, 2012), report and recommendation adopted,

                 2012 WL 12850766 (S.D. Fla. May 15, 2012).




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              •   Fees for the service of subpoenas via private process server. 1 See U.S. E.E.O.C. v.

                  W&O, Inc., 213 F.3d 600, 624 (11th Cir. 2000).

              •   Fees for court hearing transcripts, and deposition transcripts, videos, court reporter

                  attendance, and expedited delivery. 2 See Zendejas v. Redman, 2018 WL 5808706,

                  at *4 (S.D. Fla. Nov. 6, 2018).

              •   Statutory witness fees. See Zendejas, 2018 WL 5808706, at *3.

              •   Copying costs for deposition exhibits. See R.M. v. Miami-Dade Cnty., 2022 WL

                  2669489, at *3 (S.D. Fla. June 20, 2022), report and recommendation adopted,

                  2022 WL 2666887 (S.D. Fla. July 11, 2022).

          In addition, the costs set forth in CNN’s Bill of Costs should bear interest from the date of

  the final judgment, through the date of payment. See BankAtlantic v. Blythe Eastman Paine

  Webber, Inc., 12 F.3d 1045, 1052 (11th Cir. 1994) (“Supreme Court and this circuit’s precedent is

  clear: ‘When a district court taxes costs against a losing party, the award of costs bears interest

  from the date of the original judgment.’”).

          Based on the foregoing, CNN respectfully requests that this Court enter an order awarding

  CNN recovery from Plaintiff in the total amount identified in its Bill of Costs, plus interest.




  1
   CNN only seeks to recover $65 for each subpoena served personally and $8 for each subpoena served by
  mail pursuant to 28 C.F.R. § 0.114(a)(2)–(3), even though CNN’s actual costs exceeded those amounts.
  2
    During counsel’s meet-and-confer, Plaintiff’s counsel asserted that the cancellation fee for Plaintiff’s
  deposition is not recoverable, even though Plaintiff himself caused the last-minute cancellation just days
  before the scheduled deposition. See ECF No. 192, at 4–5. Under these circumstances, Plaintiff should bear
  the cost of his cancellation. See Nicholas v. Allianceone Receivables, Mgmt., Inc., 2011 WL 13175103, at
  *5 (S.D. Fla. May 13, 2011), aff’d, 450 F. App’x 887 (11th Cir. 2012).



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            LOCAL RULE 7.1 CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3) and Local Rule 7.3(c), I certify that counsel for CNN has

  made a good faith effort to confer with counsel for Plaintiff regarding the relief sought herein, and

  the parties did so confer via email and telephone. The parties were unable to reach agreement on

  the relief sought herein.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 4th day of May 2023 to Mark Schweickert, Esq.,

  mark@schweikertlaw.com, Schweickert Law, 1111 Brickell Avenue, Suite 1550, Miami, Florida

  33131, and John B. Williams, Esq., jbwilliams@williamslopatto.com, Williams Lopatto PLLC,

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